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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE


 Father and Mother Doe,

                Plaintiffs,

 v.
                                                         Civil Action No.:
 West Alton Marina, LLC; John Murray; Brian
 Fortier; Dierdre Tibbetts; and Allyson Shea,

             Defendants.
__________________________________________

                                   NOTICE OF REMOVAL

       NOW COME Defendants West Alton Marina, LLC and Brian Fortier ("Defendants"), with

consent of Co-Defendants John Murray, Dierdre Tibbetts and Allyson Shea, hereby file this Notice

of Removal pursuant to 28 U.S.C. §§ 1441 and 1446, and, in support thereof, state as follows:

       1.      On April 20, 2022, Plaintiffs Father and Mother Doe (“Plaintiffs”) filed a

Complaint and Jury Demand against Defendants in Belknap County New Hampshire Superior

Court. The action is entitled Father Doe, et al. v. West Alton Marina, LLC, et al., Civil Action

No. 211-2022-CV-00049.

       2.      The complaint includes claims of sexual harassment and hostile work environment

sex-based discrimination under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et

seq. (1964) (“Title VII”).

       3.      This Court has original jurisdiction over those claims pursuant to 28 U.S.C. § 1331.

       4.      The remaining claims arise out of the same facts and this Court has supplemental

jurisdiction over those claims pursuant to 28 U.S.C. § 1367.

       5.      Accordingly, this claim is removable under 28 U.S.C. § 1441(c) because this Court
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has original federal question jurisdiction under 28 U.S.C. § 1331 and supplemental jurisdiction

over the remaining claims pursuant to 28 U.S.C. § 1367.

         6.       Defendants are timely removing this action in accordance with 28 U.S.C. § 1446(b).

Defendants first received a copy of the First Amended Complaint upon being served with process

on or about May 6, 2022. The thirtieth day following service of the First Amended Complaint on

Defendants is June 5, 2022. See 28 U.S.C. § 1446(b)(2)(B). By operation of Fed. R. Civ. P.

6(a)(1)(C) and Local Rule 6.1, the deadline for timely removal is June 6, 2022.

         7.       Venue is appropriate in the District of New Hampshire, pursuant to 28 U.S.C. §

1441(a) because Belknap County, the place where the action is pending, is located in the District

of New Hampshire. See 28 U.S.C. § 109.

         8.       A copy of the Second Amended Complaint is attached as Exhibit 1.

         9.       A copy of all process, pleadings, and orders served upon Defendants is attached as

Exhibit 2.

         10.      Pursuant to 28 U.S.C. § 1446(d), Defendants will promptly give notice of this filing

to Plaintiffs and Co-Defendants and will file a copy of this Notice of Removal with the clerk of

the New Hampshire Superior Court of Belknap County.

         11.      Pursuant to 28 U.S.C. § 1446(b)(2)(A), Co-Defendants John Murray, Dierdre

Tibbetts and Allyson Shea, through their respective counsel, consent to the removal of this matter.

         12.      Defendants reserve the right to amend or supplement this Notice of Removal.

         WHEREFORE, Defendants respectfully request that this Second Amended Complaint be

removed to the United States District Court for the District of New Hampshire.




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                                                     Respectfully submitted,

                                                     West Alton Marina, LLC
                                                     Brian Fortier
                                                     By Their Attorneys:
Dated: June 3, 2022                                  SHAHEEN & GORDON, P.A.


                                                     By: /s/ William E. Christie
                                                     William E. Christie (N.H. Bar No. 11255)
                                                     Shaheen & Gordon, P.A.
                                                     107 Storrs Street
                                                     P.O. Box 2703
                                                     Concord, NH 03302
                                                     (603) 225-7262
                                                     wchristie@shaheengordon.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of June, 2022, I conventionally served the foregoing
on all counsel of record via electronic mail and first-class mail:


                                                     /s/ William E. Christie
                                                     William E. Christie




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